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AN-xt

                                   UNITED STATESDISTK CT COURT
                                   SO U TH ER N D ISTR ICT O F FL O RID A

                                       CA SE N O .22-CR -20008ZFA M


        UN ITED STA TES O F A M ERICA



        K EV W REB OLLED O

                      Defendant.
                                                   /

                                           PLEA A G R EEM E N T

               TheUilitedStatesAttorney'sOfficefortheSouthem DistdctofFlorida(GitllisOffice''land
        kEvm REBOLLEDO (''defendant'')enterintothefollowingagreement:
                      The defendantagreesto plead guilty to cotmt1 ofIndictm ent,which chargesthe

        defendantwith distribution ofchild pornography,in violation of Title 18,United States Code,

        Section2252(a)(2)(B)and(b)(1).
                      This Office agrees to seek dism issalof cotmts 2 and 3 of the indictm ent after

        sentencing.

                      The defendant is aware that the sentence will be imposed by the Court after

        considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
        Gûsentencing Guidelines').The defendantacknowledges and understands thatthe Courtwill
        compute an advisory sentencetmderthe Sentencing Guidelinesand thattheapplicable guidelines

        willbedeterminedby theCourtrelyingin parton theresultsofapre-sentenceinvestigationby the

        Court'sprobation oftk e,which investigationwillcom m enceaftertheguiltypleahasbeen entered.

        The defendantis also aware that,under certain circlimstatlces,the Courtm ay departf'
                                                                                           rom the

        advisozy sentencing guidzline range that ithas com puted and m ay raise or low er that advisory
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  sentenceundertheSentencingGuidelines.Thedefendantisfurtherawareandtmderstandsthafthe
  Courtis required to consider the advisory guideline range determ ined tmder the Sentencing

 Guidelinesbutisnotboundto imposeasentencewitllinthatadvisoryrange;theCourtispermitted

 to tailortheultim ate sentence in lightofotherstatutory concerns,and such sentence m ay be either

 more severe orlesssevere than the Sentencing Guidelines'advisory range.Knowing thesefacts,

 the defendant understands and acknowledges that the Courthas the authozity to impose any

 sentencewithin and up to the statutory mu imllm authorized by law fortheoffense identified in

 paragraph 1 and thatthe defendantmay notwithdraw theplea solely asa resultofthe sentence

 im posed.

               Thedefendantalso tmderstandsand acknowledgesthatwithrespectto cotmt1,the

 Courtm ust impose a minimum term ofimprisonm ent of 5 years and may impose a statutory

 m aximtlm term ofim prisonmentofup to 20 years,followed by atel'
                                                                m ofsupervisedreleaseofat

 least5 years and up to life.ln addition to a term ofim prisonm entand supervised release,the Court

 m ay im poseafme ofup to $250,000 asto each cotmtofconviction andm ustorderrestitution.
               The defendant further understands and acknow ledges that, in addition to any
                                     4 %$hew v
 sentenceimposedtmderparagrapW ofthisagreement,ptlrsuantto Title 18,Urlited StatesCode,

 Section 3013,a specialassessm ent in the amountof $100,willbe imposed on the defendant.

 Pursuantto 18U.S.C.j3014,thedefendantisrequiredtopay anadditionalspecialassessmentin
 thenmotmtof$5,000ifheissentencedby Septem ber11,2022,orifCongressextendsthespecial
 assessm entbeyond its current expiration date of Septem ber 11,2022.If the special assessm ent

 applies and defendant is indigent,or othem ise financially tm able to pay this special assessm ent
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#.4$'

        amotmt,the defendant agrees to present evidence to this Office and the Cout'tatthe tim e of

        sentencing asto thereason forthedefendant'sfailureto pay.

                       Pursuantto Title 18,U nited States Code,Section 2259,m andatory restitution m ay

        be ordered in this case. Once a victim 's losses are calculated,pursuantto Title 18,U nited States

        Code,Section 2259(b)(2)(B),the Courtshallorderrestitution in an amotmtthatreflects the
        defendant'srelativerole in thecausalprocessthattmderliesthevictim s'losses,butnotlessthml

        $3,000 pefvictim . Thedefendantagreesand understandsthatany paym entscheduleimposedby

        theCottrtiswithoutprejudicetotheUnitedStatestotakeallactionsandtakeallremediesavailable
        to ittocollectthef'
                          u11nm otmtoftherestimtion.

                       TllisOffice reselvesthe lightto inform the Courtand the probation office ofall

        factspertinentto thesentencing process,including allrelevantinform ation concerning the offenses

        comm itted,whether charged or not,as wellas concerning the defendantand the defendant's

        backgrotmd. Subjectonlytotheexpressterm sofany agreed-uponsentencingrecommendations
        contained in tllis agreem ent,tllis Office furtherreservesthe rightto m ake any recom m endation as

        to the quality and quantity ofptm ishm ent.

               8.     This Office agreesthatitwillrecom mend atsentencing lhatthe Courtreduce by
        twolevelsthesentencing glzidelinelevelapplicabletothedefendant'soffense,ptlrsuantto Section

        3E1.1(a)oftheSentencing Guidelines,based upon thedefendant'srecognition and affirmative
        and tim ely acceptance of personalresponsibility.If atthe tim e of sentencing the defendant's

        offense level is determ ined to be 16 or greater, this O ftice w ill file a m otion requesting atl

        additionaloneleveldecreaseplzrsuantto Section 3E1.1(b)oftheSentencing Guidelines,stating
        thattiledefendanthasassistedauthoritiesintheinvestigationorprosecutionofthedefendant's


                                                        3
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  own m isconductby timely notifying authorities ofthe defendant'sintention to entera plea of

  guilty, thereby permitting the governm ent to avoid prepadng for trial and perm itting the

  governm entand theCotu'tto allocatetheirresourcesefficiently.TllisOffice,however,willnotbe

 required to makethismotion ifthedefendant:(1)failsorrefusesto makea fu11,accurate and
 completedisclosureto theprobation office ofthecircllmstancessurrounding therelevantoffense

 conduct;(2)isfotmdtohavemisrepresentedfactstothegovernmentpriortoçnteringintotllisplea
 agreement;or(3)commitsany misconductafterenteringintothisplea agreement,includingbut
 notlimited tocom mitting astateorfederaloffense,violating anytenn ofrelease,orm nkingfalse

 statem entsorm isrepresentationsto any governm entalentity orofficial.

               The defendantis aw are thatthe sentence hasnotyetbeen determ ined by the Coutt

 Thedefendantalso isawarethatany estim ateoftheprobablesentencing rangeorsentencethatthe

 defendantm ay receive,whetherthatestim atecom esfrom thedefendant'sattorney,thisOffice,or

 the probation office,isa prediction,nota prom ise,and is notbinding on thisO ffice,the probation

 office orthe Cotu't.The defendantlm derstands further that any recom m endation thatthis Oftk e

 makestotheCourtasto sentencing,whetherpursuanttothisagreem entorotherwise,isnotbinding

 on the Courtand the Cottrtm ay disregard the recomm endation in its entirety. The defendant
                                                                                39C# ttz/''
 understands and acknowledges, as previously acknowledged in paragraph Z above,that the

 defendantm ay notw ithdraw his plea based upon the Court's decision notto accepta sentencing

 recommendation madeby thedefendant,thisOffice,orarecommendation madejointly by the
 defendantand tlzis Office.

        10.    Thedefendantagrees,in an individualand any othercapacityto forfeitto theU nited

 States,voluntarily and im m ediately,allrights,title,and interestto:any visualdepiction described

 in Title 18,United States Code,Sections2251,2251A,or 2252,or any book,m agazine,periodical,
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  film ,videotape, or other m atter which contains any such visual depiction, which w as produced,

  transpoded,m ailed,shipped orreceived in violation ofTitle 18,United States Code,Chapter110;any

 property,realorpersonal,constituting ortraceableto grossprofitsorotherproceedsobtained from the

  offense to which the defendantispleading guilty;and any property,realorpersonal,used orintended

 to be used to com m itortoprom otethecom m ission ofsuch offensepursuantto Title 18,United States

 Code,Section22534$.Theproperty subjectto forfeituzeincludes,butisnotlimited to,directly
 forfeitableproperty including:

                    One(1)iphoneX bearingSerialNllmberG6TW P7DRJCLF
                Thedefendantfurtheragzeesthatforfeittzreisindependentofany assessm ent,fine,

 cost,restitm ion,orpenalty thatm ay be imposed by the Court. The defendantknowingly and

 voltmtarily agrees to waive a11 constitutional,legal,and equitable defenses to the forfeiture,

 including excessive fines tm der the Eighth Am endm ent to the U llited States Constim tion. ln

 addition,thedefendantagreesto waiveany applicabletimelimitsforadministrativeorjudicial
 forfeitures,therequirementsofFed.R.Crim.P.32.2 and43(a),andany appealoftheforfeiture.
                Thedefendantalso agreestof'ully and truthflllly disclosetheexistence,nature,and

 location ofa1lassetsi.
                      n which thedefendanthasorhad any directorindirectfm ancialinterest,or

 exercises or exercised control,directly or indirectly,and any assets obtained as a resultofthe

 offenses of conviction.The defendant also agrees to take a1lsteps requested to effectuate the

 recovery andforfeitureofallassetsidentifiedbytheUnited Statesasbeing subjectto forfeiture.
 This includes,butis notlim ited to,the delivery upon requestofa11necessary and appropdate

 doolm entation to delivergood and m arketable title,consenting to al1orders offorfeiture,and not

 contesting orim peding in any crim inal,civilor adm inistrative forfeiture proceedings concerning

 such property.
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         13.    The defendanttmderstandsthatby pleading guilty,hewillberequired to register

  asasex offenderupon hisreleasefrom prison asacondition ofsupervisedreleaseptzrsuanttoTitle

  18,UnitedStatesCode,Section35834* .Defendantalsotmderstandsthathdependentofsupervised
  release,hewillbesubjecttofederalandstatesexoffenderregistrationrequirements,atldthatthose
  reqtlirem entsmay apply tllroughoutdefendant's life. Defendanttmderstandsthathe shallkeep

 ilisregistration current,shallnotify the state sex offenderregistration agency oragenciesofany

  changes to defendant'snam e,place ofresidence,em ploym ent,orsttzdentstam s,or otherrelevant

  irlformation. Defendant shall comply with requirements to periodically verify in person

  defendant'ssex offenderregistration intbnnation. Defendanttmderstandsthathewillbesubject
 topossiblefederaland statepenaltiesforfailuretocom ply with any such sex offenderregistration

 requirem ents.If defendantresides in Flodda following release 9om prison,defendantwillbe

  subjectto the registration requirements ofFlorida Statute,Section 775.21. Defendantfurther
 tmderstandsthat,underTitle 18,United StatesCode,Section4042(c),noticewillbeprovidedto
  certain 1aw enforcem ent agencies upon defendant's release from confinement following

  conviction.

         14.    Asa condition ofsupervised release,thedefendantshallinitially registerwith the

  state sex offender registration in Florida and shall also register with the state sex offender

 registration agency in any statewherethedefendantresides,isemployed,works,orisa s'
                                                                                  tudent,

  asdirected by theProbation Officer.Thedefendantshallcomply with a1lrequirem entsoffederal

  and state sex offender registration law s, including the requirem ent to update defendant's

 registration inform ation. D efendant shallprovide proofof registration to the Probation O fficer

 w ithin 72 hours ofrelease 9om im prisonrnent.
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        15.    Defendantrecognizesthatpleading guilty may have consequenceswith respectto

 the defendant's im m igration status if the defendant is not a natural-bom citizen of the U nited

 States. Underfederallaw,abroad rangeofcrimesareremovableoffenses,includingthe offense

 to which defendantispleading guilty.In addition,undercertain circllm stances,denaturalization

 may also be a consequence ofpleading guilty to a cdm e. Removal,denaturalization,and other

 immigration consequences are the subjectofa separate proceeding,however,and defendant
 understandsthatno one,includhlg the defendant'sattorney ortheCourt,can predictto acertainty

 the effect of the defendant's conviction on the defendant's imm igration status. Defendant

 nevertheless affinns that the defendant wants to plead guilty regardless of any im migration

 consequences thatthe defendant'splea m ay entail,even ifthe consequence is the defendant's

 denaturalization and autom atic rem ovalâom the U nited States.

        16.    This is the entire agreem ent and understanding between tllis O flice and the

 defendant. There are no other agreem ents,prom ises,representations,orunderstandings.


                                             DJAN ANTON IO GONZALEZ
                                             U NITED STA TES A TTORN EY


 Date: R C 2 t                       By:
                                           B RTI A LILIA FERN AN DEZ
                                           A SISTAN T U N ITED STA TES A TTORN EY


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                                           A TTO RN EY OR DEFEN D AN T


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